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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                                ORDER
         v.                                                     05-CR-250
ELADIO RODRIGUEZ,

                                 Defendant.


      The above-referenced case was referred to Magistrate Judge H. Kenneth

Schroeder, Jr., pursuant to 28 U.S.C. § 636(b)(1)(A). On August 16, 2007,

Magistrate Judge Schroeder filed a Report and Recommendation, recommending

that defendant's motion to suppress evidence be denied.

      The Court has carefully reviewed the Report and Recommendation, the

record in this case, and the pleadings and materials submitted by the parties. No

objections having been timely filed, it is hereby

      ORDERED, that pursuant to 28 U.S.C. § 636(b)(1), and for the reasons set

forth in Magistrate Judge Schroeder's Report and Recommendation, defendant's

motion to suppress evidence is denied.




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          SO ORDERED.

                                  s/ Richard J. Arcara
                                  HONORABLE RICHARD J. ARCARA
                                  CHIEF JUDGE
                                  UNITED STATES DISTRICT COURT

DATED: September 5, 2007




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